Case: 1:18-cv-00946 Document #: 6 Filed: 02/26/18 Page 1 of 2 Page|D #:24

AO 440 (Rev. 05/'00) Su.mrnons in a Civil Action

 

 

 

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KEVIN OSBORN,
Plaintiff, n
CASE NUMBER: l: 18-cv-00946
V. ASSIGNED JUDGE:
Honorable Jorge L. Alonso
THE REC§NABLE M?%ASEMENT DESIGNATED
]SDZ;:§;:£ CORPORA MAGISTRATE JUDGE: Honorable Sidney I. Schenkier

TOZ (Narne and address of Det`endant)

THE RECEIVABLE MANAGEMENT SERVICES CORPORATION
R/A: CT Corporation System, 208 S. LaSaile St., Suite 814, Chicago, Illinois 60604

YOU ARE HEREBY SUMMONED and required to serve upon PLAINTIFF’S ATTORNEY (name and address)

Daniel Iohn McGarry

Whiteside & Goldberg, Ltd.

155 N. Michigan Avenue, Suite 540
Chicago, IL 6060l

an answer to the complaint Which is herewith served upon you, 21 days after service of this

summons upon you, exclusive of the day of service lt` you fail to do so, judgment by default will be taken against you for
the relief demanded in the complaint You must also file your answer with the Clerk of this Court within a reasonable
period of time after service

THQl}/[A`S G. BRUTON, CLERK

l‘

February 20, 2018

 

 

(By) DEPUTY CLERK DATE

 

' ' - - 4 Document#: 6 Filed: 02/26/18 Page 2 of 2 Page|D #:25
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AO 440 (Rev. 06/!2) Summons in a Civil Action (Page 2)

 

Civil Action No. 1:18-cv-00946

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Cc‘v. P. 4 (l))

ThiS SUIHIDOI!S fOf (Mm€ Ofindividwl and iffl€. 17 HW) Kevin Osbom v The Receivable |V|anagement Services Corp

 

was received by me on (dare) 02/20!2018

IJ l personally served the summons on the individual at parcel 203 3, Lasal|e, Suite 814, Chicago, n_ 60604

 

 

on (dare) ; or

[j l left the summons at the individual’s residence or usual place of abode with (mme)

, a person of suitable age and discretion who resides there,

 

on (date) , and mailed a copy to the individual’s last known address; or

if l served the summons on (name ofindividual) Derrick Hackeu , who is

 

designated by law to accept service of process on behalf of (mzme aforganizaiion}

The Receivable N|anagement Services Corp 011 (da¢€) 02/26/2018 § 01`

 

\:I l returned the summons unexecuted because ; or

 

g Otl'ler‘ (speci]j)):

_My fees are $ for travel and $ for services, for a total of $ 000

l declare under penalty of perjury that this information is true.

Date: 02/26)‘201 8

 

Ser'ver ’,s' signature

G|enn Schroeder ~ Process Server
Printed name and rifle

 

R.O.S. Consu|ting, |nc_
23900 W. industrial Dr. South, Suite 3, Pfainfield, |L 60585
‘l 17~{_)01339¢

Server ’s address

 

Additional information regarding attempted service, etc:

